     Case 5:20-cv-02255-EJD Document 212-2 Filed 12/29/23 Page 1 of 3



 1   ERROL J. KING, JR.*
     CRAIG L. CAESAR*
 2   KATHERINE C. MANNINO*
 3   TAYLOR J. CROUSILLAC*
     BRITTANY HOLT ALEXANDER*
 4       *admitted pro hac vice
     PHELPS DUNBAR LLP
 5   errol.king@phelps.com
     craig.caesar@phelps.com
 6   katie.mannino@phelps.com
 7   taylor.crousillac@phelps.com
     brittany.alexander@phelps.com
 8   II City Plaza
     400 Convention Street, Suite 1100
 9   Baton Rouge, LA 70802
     Telephone:      +1 225 376 0207
10
     Facsimile:      +1 225 381 9197
11
     DENNIS B. KASS (SBN 137263)
12   ADAM D. AFSHAR (SBN 330630)
     MANNING & KASS
13   ELLROD, RAMIREZ, TRESTER LLP
     One California Street, Suite 900
14   San Francisco, California 94111
     Telephone: (415) 217-6900
15   dennis.kass@manninkass.com
     adam.afshar@manningkass.com
16
     Attorneys for Defendant MultiPlan, Inc.
17
                               UNITED STATES DISTRICT COURT
18                           NORTHERN DISTRICT OF CALIFORNIA

19
     RJ, as the representative of her beneficiary son
20   SJ, and DS, an individual, on behalf of themselves
     and all others similarly situated,                 Case No. 5:20-cv-02255-EJD
21
                          Plaintiffs,                 DECLARATION OF ERROL J. KING, JR.
22                                                    IN SUPPORT OF DEFENDANTS’
            v.                                        ADMINISTRATIVE MOTION TO SEAL
23
     CIGNA HEALTH AND LIFE INSURANCE
24   COMPANY, and MULTIPLAN, INC.,

25                        Defendants.

26

27

28


                                                  1
     Case 5:20-cv-02255-EJD Document 212-2 Filed 12/29/23 Page 2 of 3



 1

 2

 3   I, ERROL J. KING. JR., hereby declare and state as follows:

 4           1.      I am a partner at Phelps Dunbar LLP, one of the law firms representing MultiPlan,

 5   Inc. in this action.

 6           2.      I have been a licensed attorney since 1986. I am a member in good standing of the

 7   state bar of Louisiana and am also admitted to practice in the federal district courts in Louisiana,

 8   as well in the United States Court of Appeal for the First, Third, Fifth, and Ninth Circuits, as well

 9   as the United States Supreme Court.

10           3.      I have a longstanding relationship with MultiPlan and represent it in many legal

11   matters. I was asked by MultiPlan to represent it in this matter as well; accordingly, I filed an

12   application to appear pro hac vice which was approved by this Court.

13           4.      I make this declaration in support of Defendants’ efforts to maintain certain

14   documents in the record under seal as explained more fully in Defendants’ Administrative Motion

15   to Seal Excerpted and/or Redacted Versions of Exhibits 3, 5, 8-10, 15, 17-18, 22, and 30 to

16   Plaintiffs’ Motion for Class Certification, and Exhibits 9 and 10-13 to Plaintiffs’ Reply in Support

17   of Class Certification.

18           5.      I make the statements in this declaration based upon my personal knowledge and

19   information acquired during my representation of MultiPlan and involvement in this case, and I
20   would testify truthfully to them if called on to do so.

21           6.      Attached to my declaration are the sealed excerpted Exhibits 3, 5, 8, 9, 15, 17-18,

22   22, and 30 to Plaintiffs’ Motion for Class Certification, and sealed excerpted Exhibits 9-13 to

23   Plaintiffs’ Reply in Support of Class Certification.

24           7.      Also attached to my declaration is a redacted version of the Declaration of Thomas

25   P. Ralston, Exhibit 10 to Plaintiffs’ Motion for Class Certification, and a sealed, highlighted

26   version of this Declaration.

27           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury and the laws of the United

28   States and the State of California that the foregoing statements are true and correct, and that this
                                                       2
      DECLARATION OF ERROL J. KING, JR. IN SUPPORT OF DEFENDANTS’ ADMINISTRATIVE MOTION
                                             TO SEAL
                                     CASE NO.: 5:20-CV-02255
     Case 5:20-cv-02255-EJD Document 212-2 Filed 12/29/23 Page 3 of 3



 1   Declaration was executed on the 29th day of December, 2023, in Baton Rouge, Louisiana.

 2
                                         /s/ Errol J. King, Jr.
 3                                         Errol J. King, Jr.
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28
                                                   3
      DECLARATION OF ERROL J. KING, JR. IN SUPPORT OF DEFENDANTS’ ADMINISTRATIVE MOTION
                                             TO SEAL
                                     CASE NO.: 5:20-CV-02255
